   Case 16-00574-SMT    Doc 96    Filed 06/25/19 Entered 06/25/19 12:17:54   Desc Main
                                  Document Page 1 of 2

The document below is hereby signed.

Signed: June 25, 2019




                                   ___________________________
                                   S. Martin Teel, Jr.
                                   United States Bankruptcy Judge
                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLUMBIA

    In re                                  )
                                           )
    SAMUEL W. HAIRSTON, IV,                )     Case No. 16-00574
                                           )     (Chapter 13)
                        Debtor.            )     Not for publication in
                                           )     West’s Bankruptcy Reporter

                   FURTHER MEMORANDUM DECISION AND ORDER RE
                  OBJECTION TO CLAIM OF DEBTOR’S FORMER WIFE

         The court’s Memorandum Decision And Order Re Objection To

    Claim Of Debtor’s Former Wife provided for interest at a set per

    diem rate on the priority claim against the debtor.               The debtor

    correctly observes (Dkt. No. 79) that allowing interest at a

    specified per diem interest amount is problematic because “as the

    claim is paid down, the per diem interest will also be reduced,

    leading to a reduction in the applicable per diem interest.”                 It

    is thus

             ORDERED that the court’s prior Memorandum Decision And

    Order Re Objection To Claim Of Debtor’s Former Wife (Dkt. No. 76,

    entered on April 12, 2019) is modified to provide that Juanita L.

    Hairston-Price has:

         •       an allowed claim, entitled to priority as a domestic
Case 16-00574-SMT                                                                               Doc 96   Filed 06/25/19 Entered 06/25/19 12:17:54   Desc Main
                                                                                                         Document Page 2 of 2


                                                            support obligation, for child support in the amount of

                                                            $2,447.62 plus postpetition interest accruing thereon

                                                            at 10% per annum,

                              •                             an allowed claim, entitled to priority as a domestic

                                                            support obligation, for prepetition interest on child

                                                            support in the amount of $2,470.42, with no

                                                            postpetition interest accruing on that $2,470.42 of

                                                            prepetition interest, and

                              •                             an allowed claim of $20,728.64 not entitled to

                                                            priority.

It is further

                              ORDERED that for purposes of the trustee’s determining when

Hairston-Price’s priority claim has been fully paid, payments to

Hairston-Price shall be treated as applied first to interest of a

priority character outstanding at the time of payment, whether of

a prepetition or postpetition character, and only then to the

$2,447.62 non-interest component of Hairston-Price’s priority

claim.

                                                                                                                             [Signed and dated above.]

Copies to: Recipients of e-notification of filings;

Juanita L. Hairston-Price
6330 Tisbury Dr.
Burke, VA 22015
[By hand-mailing]




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